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  RE: Rothschild Connected Devices Innovations,LLC v. Garmin International, Inc., 2:17-cv-
  00158-JRG-RSP

  Jay,

         I write to ask that your client dismiss my client, Garmin, with prejudice from the above
  captioned matter. Several courts, including the Honorable Judge Gilstrap, have already found
  customizable product patents invalid under Section 101 and the continued maintenance of patent
  indistinguishable from those already found to be patent ineligible is unreasonable.
         Whether or not systems and methods for generating customized products are patent
  eligible is a well-trodden question, repeatedly decided in the negative. For example, in Tenon &
  Groove, LLC v. Plusgrade S.E.C., No. 12-1118-GMS-SRF, 2015 U.S. Dist. LEXIS 29455 (D.
  Del. Mar. 11, 2015), “[The invention] relate[d] to methods and systems for customizing and
  optimizing a company’s products and services to individual customers in [a] way that
  concurrently maximizes customer value satisfaction and overall business performance.” Id. at
  *7. Therein, the court found the invention to be patent ineligible: “This is not a problem unique
  or inherent to computers. Rather, the claims recite ‘generic computer implementation,’ required
  only by virtue of these transactions becoming increasingly computerized themselves.”) (citing
  Alice, 134 S. Ct. at 2358.); see also Morsa v. Facebook, Inc., Case No. SACV 14-161, 77 F.
  Supp. 3d 1007, 2014 U.S. Dist. LEXIS 180968, 2014 WL 7641155 (C.D. Cal. Dec. 23, 2014)
  (finding patent ineligible a method of allowing advertisers to target online advertising to
  consumers fitting customized demographic, geographic, and psychographic criteria); Kroy IP

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  Holdings, LLC v. Safeway, Inc., 107 F. Supp. 3d 677, 700 (E.D. Tex. 2015) (finding patent
  ineligible an “invention [which] provides a fully integrated system for creating, distributing and
  automating the fulfillment of awards in personalized consumer incentive programs.”)
         As you can see from the above-cited cases, several courts have already found patents
  claiming systems or methods for creating customized products to be patent ineligible. Critically,
  the Judge presiding over the case at bar has himself found patents for generating customized
  products to be patent ineligible. In Clear With Computers, “the asserted claims are directed to
  the abstract idea of creating a customized sales proposal for a customer.” Clear with Computers,
  LLC v. Altec Indus., No. 6:14-cv-79 (Consolidated Lead Case), 2015 U.S. Dist. LEXIS 28816, at
  *11 (E.D. Tex. Mar. 3, 2015). The claim in Clear with Computers is indistinguishable from the
  patents at-issue here from a Section 101 perspective. Compare:
         A computer program product readable by a computing system comprising instructions
         that when executed cause a processor to:

                 receive answers to a plurality of questions from a specific customer related to at
                 least one of a desired feature and desired use by the customer of a tangible
                 product for sale from a user interface;

                 automatically select, in response to at least one of the received answers, an image
                 of the tangible product for sale, an image of an environment in which the product
                 for sale is to be used and a text segment comprised of a description of the product
                 specifications and performances that are of particular interest to the customer; and

                 integrate the selected images and the selected text segment into a proposal for the
                 sale of the product customized to the specific customer such that a single
                 composite visual output can be generated that shows the product in the product
                 environment along with said text segment,

                 wherein the single composite visual output is generated by:

                         a selection device operatively interconnected to an active database, the
                         active database configured to electronically store customer information
                         obtained via the user interface;




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                         the selection device operatively connected to a static database, the static
                         database storing electronically at least one of, (a) text; (b) pictures or (c)
                         texts and pictures, relating to at least one product; and

                 the system dynamically building a template utilizing the selection device to fill in
                 the template to produce the single composite visual output.

  (Clear With Computers, ’739 Patent, Claim 1)

  With:
          A system for customizing a product according to a user's preferences comprising:

                 a remote server including a database configured to store a product preference of a
                 predetermined product for at least one user; and

                 a first communication module within the product and in communication with the
                 remote server;

                 wherein the remote server is configured to receive the identity of the
                 predetermined product and the identity of the at least one user, retrieve the
                 product preference from the database based on the identity of the predetermined
                 product and the identity of the least one user and transmit the product preference
                 to the first communication module.

  (’090, Claim 1.)
          As you can see, under the Section 101 calculus, the two claims are indistinguishable.
  Both claim systems for creating customized products, both use standard computer operations,
  both comprise merely “conventional steps, specified at a high level of generality.” See Clear
  With Computers, at *16-17 (citing Ultramercial and Alice.)
          Given that indistinguishable claims have repeatedly been found to be patent ineligible,
  including by the very Judge presiding over the case at-bar, we ask that your client dismiss my
  client with prejudice as your client has no reasonable chance of success on the merits of a
  Section 101 motion. See Edekka LLC v. 3balls.com, Inc., No. 2:15-CV-54, 2015 U.S. Dist.
  LEXIS 168610, at *13-14 (E.D. Tex. Dec. 17, 2015) (granting Section 101 motion at the
  pleading stage and awarding attorney’s fees because “no reasonable litigant could have
  reasonably expected success on the merits” and “rather than acknowledging the inherent

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  weaknesses of the ’674 Patent, eDekka proffered completely untenable arguments to the Court
  throughout the § 101 briefing process.”); Gust, Inc. v. AlphaCap Ventures, LLC, No. 15-cv-6192,
  2016 U.S. Dist. LEXIS 170118, at *9-10 (S.D.N.Y. Dec. 8, 2016) (“An ‘exceptional’ case is one
  that stands out from others with respect to the substantive strength of a party’s litigating position
  (considering both the governing law and the facts of the case).”) (quoting Octane Fitness, LLC v.
  ICON Health & Fitness, Inc., 134 S. Ct. 1749, 1756, 188 L. Ed. 2d 816 (2014)).
         I realize that the defense bar throws around threats of attorney’s fees under Section 285.
  My guideposts generally involve professional courtesy; I don’t like to send these letters and I am
  sure they are not well received. But on these facts, it is manifestly unreasonable to continue with
  this litigation. I note, in addition, that the ’090 patent has been asserted 69 times, and always
  settled before Markman. Such tactics are disfavored and generally more likely to lead to
  attorney’s fees in the Eastern District of Texas. Regardless of the type of pre-suit analysis
  conducted, at this stage in the litigation, your client has a duty to “stop and think.” Iris Connex,
  LLC v. Dell, Inc., No. 2:15-cv-1915, 2017 U.S. Dist. LEXIS 10146, at *61 (E.D. Tex. Jan. 25,
  2017). Where, as here, patents covering the same subject matter have already found to be patent
  ineligible, you have a duty to drop said patents from any litigation. See Iris Connex, at *61;
  Edekka LLC v. 3balls.com, Inc., No. 2:15-CV-541 JRG (LEAD CASE), 2015 U.S. Dist. LEXIS
  168610, at *13 (E.D. Tex. Dec. 17, 2015); Gust, at *12.
         Please let me know whether you would like to discuss, including any discussion of where
  you think I might be in error. Else I ask that you dismiss Garmin with prejudice within the week.
         Best,


         Rachael




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